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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                    FLORENCE DIVISION


UNITED STATES OF AMERICA

                vs                                         CR NO. 4:22-cr-00738-JD
Troy Benjamin Bittner


                                            PLEA


         The defendant, Troy Benjamin Bittner, having withdrawn his plea of Not Guilty entered

August 1, 2023, pleads GUILTY to Count(s) #1 and #2 Information after arraignment in open

court.




Florence, South Carolina
August 1, 2023
